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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA



United States of America,                         Civil No. 13-3003 (RHK/FLN)
ex rel. Kipp Fesenmaier,
                                                          ORDER
                            Plaintiffs,

v.

Sightpath Medical, Inc.,
TLC Vision Corporation,
The Cameron-Ehlen Group, Inc.,
d/b/a Precision Lens,
Minnesota Eye Consultants P.A.,
David Dillman,
Paul Ehlen,
Todd Gavin,
Jeffrey Ketcham,
Paul Kuck,
Daniel Lange,
Monte Leidenix,
Richard Lindstrom,
Michael Merck,
Anthony Novak,
Gregory Osmundson,
Jitendra Swarup,
Vance Thompson,
Christopher Wallyn,
David West, and
Darrell Williams,

                            Defendants.



       Pursuant to the parties’ Stipulation of Dismissal (Doc. No. 69), Rule 41(a) of the

Federal Rules of Civil Procedure and the qui tam provisions of the False Claims Act, 31

U.S.C. § 3730(b)(1), and based on all the files, records and proceedings in this matter,
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      IT IS ORDERED:

      1.   All claims asserted on behalf of the United States in this action against

Sightpath Medical, Inc. and TLC Vision Corporation concerning the Covered Conduct, as

defined in Recital Paragraph D of the August 2017 Settlement Agreement among the

United States, Relator, and Sightpath Medical, Inc., and TLC Vision Corporation, are

dismissed with prejudice;

      2.   All other claims in this action against Sightpath Medical, Inc. and TLC Vision

Corporation are dismissed without prejudice to the United States and with prejudice to the

Relator;

      3. All claims in this action against Sightpath Medical, Inc. and TLC Vision

Corporation asserted on behalf of the Relator for attorneys’ fees under 31 U.S.C.

§ 3730(d) are dismissed with prejudice;

      4. All other claims against all remaining defendants are specifically preserved and

not dismissed; and

      5. This dismissal does not disturb the parties’ rights and obligations as set forth in

the August 2017 Settlement Agreement.

Dated: September 13, 2017


                                          s/Donovan W. Frank
                                          DONOVAN W. FRANK
                                          United States District Judge




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